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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA               :
                                       :
            v.                         :       CRIMINAL NO. 3:23-CR-149
                                       :
DAMIEN BOLAND,                         :
ALFRED ATSUS, AND                      :
JOSEPH ATSUS.                          :       JUDGE MANNION
                                       :
                   Defendants.         :       ELECTRONICALLY FILED

  BRIEF IN SUPPORT OF DEFENDANTS DAMIEN BOLAND, ALFRED
 ATSUS, AND JOSEPH ATSUS’ JOINT MOTION TO DISMISS COUNT 1
    OF THE INDICTMENT FOR FAILURE TO STATE AN OFFENSE

                               INTRODUCTION

      NOW COMES the Defendants Joseph Atsus, Alfred Atsus, and Damien

Boland, by and through their undersigned counsel, filing the following Brief in

Support of Joint Motion to Dismiss Count 1 of the Indictment pursuant to Federal

Rule of Criminal Procedure 12(b)(3)(B)(v), and it support thereof, it is averred as

follows:

      The Indictment in this case alleges a burglary ring spanning two decades.

The most culpable individual in the burglary ring is unindicted (but separately

charged) coconspirator Thomas Trotta. Trotta committed each of the burglaries

alleged in the Indictment and is the Government’s main cooperating witnesses. The

second most culpable individual, according to the Government, is Nicolas

Dombek.
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        The Government alleges that Dombek was a father figure for Trotta.

According to Trotta, he committed countless burglaries, thefts and other offenses

with Dombek since Trotta was a little boy. For decades, Dombek plotted crimes,

and Trotta executed Dombek’s schemes.

        Dombek’s alleged bad acts are more prevalent and more serious than those

allegedly committed by his codefendants Joseph Atsus, Alfred Atsus, and Damien

Boland. Dombek is alleged to have destroyed evidence, threatened witnesses, and

conspired to poison and kill a Government witness.

        These inflammatory allegations, coupled with the fact that Count 1 of the

Indictment charges a conspiracy that is both wide ranging and not clearly defined,

requires the Court to dismiss Count 1 of the Indictment.

                           PROCEDURAL HISTORY

A.      Indictment

        On June 6, 2023, a thirteen-count Indictment was entered against Defendants

Joseph Atsus, Alfred Atsus, Damien Boland, and Nicholas Dombek. (ECF 1.)

        Count 1 of the Indictment charges a wide-ranging conspiracy (18 U.S.C.

§371) to Commit Theft of Major Artwork (18 U.S.C. § 668(b)(1)), Concealment

and Disposal of Major Artwork (18 U.S.C. § 668(b)(2)), and Transportation of

Stolen Property ((18 U.S.C. § 2314)) spanning from August 1999 to September

2019.


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      Counts 2 and 3 of the Indictment charges Defendants Joseph Atsus, Alfred

Atsus, Damien Boland, and Nicholas Dombek with aiding and abetting Theft of

Major Artwork and Concealment of Disposal of Major Artwork in relation to

unindicted conspirator Thomas Trotta’s November 18, 2005 burglary of the

Everhart Museum, located in Scranton, Pennsylvania.

      Count 4 of the Indictment charges Defendants Joseph Atsus, Alfred Atsus,

Damien Boland, and Nicholas Dombek with aiding and abetting Concealment of

Disposal of Major Artwork in relation to unindicted conspirator Thomas Trotta’s

June 28, 2006 burglary of the Space Farms: Zoo and Museum (“Space Farms”),

located in Wantage, New Jersey.

      Counts 5 and 6 of the Indictment charges Defendant Damien Boland with

aiding and abetting Theft of Major Artwork and Concealment of Disposal of Major

Artwork in relation to unindicted conspirator Thomas Trotta’s July 2, 2010

burglary of the Lackawanna County Historical Society, located in Scranton,

Pennsylvania.

      Count 7 of the Indictment charges Defendants Joseph Atsus, Alfred Atsus,

Damien Boland, and Nicholas Dombek with aiding and abetting Concealment of

Disposal of Major Artwork in relation to unindicted conspirator Thomas Trotta’s

March 2, 2011 burglary of the Ringwood Manor, located in Ringwood, New

Jersey.


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      Count 8 of the Indictment charges Defendants Damien Boland and Nicholas

Dombek with aiding and abetting Concealment of Disposal of Major Artwork in

relation to unindicted conspirator Thomas Trotta’s May 6, 2012 burglary of the

USGA Golf Museum & Library (“USGA Golf Museum”), located in Liberty

Corner, New Jersey.

      Count 9 of the Indictment charges Defendants Damien Boland and Nicholas

Dombek with aiding and abetting Concealment of Disposal of Major Artwork in

relation to unindicted conspirator Thomas Trotta’s December 18, 2012 burglary of

the Harness Racing Museum and Hall of Fame (“Harness Racing Museum”),

located in Goshen, New York.

      Count 10 of the Indictment charges Defendants Damien Boland and

Nicholas Dombek with aiding and abetting Concealment of Disposal of Major

Artwork in relation to unindicted conspirator Thomas Trotta’s September 13, 2013

burglary of the National Museum of Racing and Hall of Fame (“Racing Museum”),

located in Saratoga Springs, New York.

      Count 11 of the Indictment charges Defendants Joseph Atsus and Nicholas

Dombek with aiding and abetting Concealment of Disposal of Major Artwork in

relation to unindicted conspirator Thomas Trotta’s October 15, 2014 burglary of

the Yogi Berra Museum & Learning Center (“Yogi Berra Museum”), located in

Little Falls, New Jersey.


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      Count 12 of the Indictment charges Defendants Damien Boland and

Nicholas Dombek with aiding and abetting Concealment of Disposal of Major

Artwork in relation to unindicted conspirator Thomas Trotta’s July 26, 2016

burglary of the Roger Maris Museum, located in Fargo, North Dakota.

      Count 13 of the Indictment charges Defendant Nicholas Dombek with aiding

and abetting Interstate Transportation of Stolen Property in relation to unindicted

conspirator Thomas Trotta’s June 18, 2018 burglary of the Bertoni Gallery, located

in Chester, New York.

B.    Arraignments and Detention/Release Hearings

      Shortly after the Indictment was entered, Defendants Joseph Atsus, Alfred

Atsus, and Damien Boland were arraigned and released. On June 13, 2023,

Damien Boland was arraigned, entered a plea of not guilty, and was released on his

own recognizance. (ECF 18.)

On June 15, 2023, Joseph Atsus and Alfred Atsus were arraigned, entered a plea of

not guilty, and were released on their own recognizance. (ECF 33, 28.)

      Defendant Dombek, in contrast, went into hiding and was not located until

he turned himself in nearly six (6) months later. On January 2, 2024, Nicholas

Dombek was arraigned, entered a plea of not guilty, and was detained pending

further proceedings. (ECF 58.)




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                          FACTUAL BACKGROUND

A.    Allegations Against Boland and Atsus Brothers

      Counts 2 through 12 of the Indictment allege substantive offenses pursuant

to 18 U.S.C. § 668 (Major Art Theft), against Defendants Joseph Atsus, Alfred

Atsus, and Damien Boland. These allegations involve aiding and abetting Thomas

Trotta in the planning, execution of burglaries of the Everhart Museum, Space

Farms, the Lackawanna County Historical Society, Ringwood Manor, USGA Golf

Museum, Harness Racing Museum, Racing Museum, Yogi Berra Museum, and

Roger Maris Museum. These counts also allege the concealment and disposal of

the proceeds from these burglaries. Temporally, these burglaries occurred between

1999 and 2016.

      Count 1 is far broader. It alleges a conspiracy, which not only includes the

substantive offense alleged in Counts 2 through 12, but also several other

burglaries and attempted burglaries committed by Trotta. Count 1 also includes

overt acts, which do not involve allegations of Major Art Theft, from: the Franklin

Mineral Museum, located in Franklin, New Jersey; the Antiques Exchange, an

antiques store located in Hawley, Pennsylvania; Cade's Coins, a store located in

Exeter, Pennsylvania; the Bertoni Gallery, located in Chester, New York; and

Basic Irish Luxury, a store located in Newport, Rhode Island. Trotta committed




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these offenses between 2017 and 2018. Joseph Atsus, Alfred Atsus, and Damien

Boland are not alleged to have been involved in these burglaries.

   B.      Allegations Against Defendant Dombek

   The allegations against Defendant Dombek are even broader. According to

Trotta’s statements, Trotta and Dombek have been committing burglaries and other

thefts together since Trotta was a young boy. Dombek lived with Trotta and was a

father figure to him. The discovery provided by the Government indicates that

Trotta and Dombek combined to commit hundreds, if not thousands, thefts.

It is alleged that Trotta and Dombek conspired to burglarize homes and automated

teller machines (ATMs) across Lackawanna County.

        According to the Government, Dombek was the mastermind of the burglary

ring alleged in the Indictment. He would select target locations for Trotta to

burglarize and advise him which items are most valuable and worth stealing.

Dombek would manufacture equipment for Trotta to utilize in the burglaries.

Following the burglaries, Dombek used his knowledge of metallurgy to melt down

the pilfered precious metals and extract gemstones from the stolen objects.

        Further, it is alleged that Dombek not only conspired with Trotta to commit

thefts going beyond the scope of what is contained in the Indictment, it is also

alleged that Dombek destroyed evidence, threatened witnesses, and conspired to

poison and kill a witness believed to be cooperating with the Government.


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Specifically, it is alleged that Dombek discussed obtaining a fatal fentanyl dose to

kill a cooperating witness. Dombek also separately discussed using a poisonous

plant to kill the cooperating witness. During a search of Dombek’s property, false

hellebore, a poison plant, was seized.

C.    The Alleged Conspiracy

      As noted above, Count 1 of the Indictment charges a wide-ranging

conspiracy (18 U.S.C. §371) to Commit Theft of Major Artwork (18 U.S.C. §

668(b)(1)), Concealment and Disposal of Major Artwork (18 U.S.C. § 668(b)(2)),

and Transportation of Stolen Property ((18 U.S.C. § 2314)) spanning from August

1999 to September 2019.

      Interestingly, according to Trotta’s own statements, he was involved in

every one of the twenty-two (22) overt acts alleged within the Indictment.

Furthermore, these alleged overt acts often occurred with long gaps of time

between alleged activity. In fact, the first alleged overt act of the alleged

conspiracy takes place in August of 1999 and involved only Joseph Atsus and

Trotta. The overt actions alleged to have occurred at Keystone College are

arguably not within the statutory confines of the substantive charges found

throughout the remainder of the Indictment.

      Furthermore, the next overt action alleged by the Government does not take

place until over six (6) years after the alleged incident at Keystone College. This


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incident allegedly involved the Everhardt Museum in November of 2005 and

involved Trotta, Dombeck, Alfred Atsus, Jospeh Atsus, and Boland.

      The next alleged overt action by the Government does not take place for

approximately seven (7) months after the alleged actions involving the Everhardt

Museum. This incident allegedly took place in June of 2006 and involved the

Space Farms Zoo and Museum as and involved Trotta, Dombeck, Boland, Joseph

Atsus and Alfred Atsus.

      The next alleged overt action does not take place for four (4) years after the

alleged actions involving Space Farms Zoo and Museum. This incident allegedly

took place in July of 2010 involving the Lackawanna Historical Society as charged

in Count 6 of the Indictment and involved Trotta and Boland.

      The next alleged overt actions do not take place until eight (8) months later

after the alleged actions involving the Lackawanna Historical Society. The next

allegations involve the Scranton County Club and Ringwood Manor. It should be

noted that the Scranton Country Club cannot be qualified as a museum as required

by statute. The incident that allegedly took place in March of 2011 involving

Ringwood Manor as charged in Count 7 of the Indictment involved Trotta,

Dombek, Boland, Alfred Atsus, and Jospeh Atsus. The non charged actions at the

Scranton Country Club allegedly involved Trotta, Joseph Atsus and Boland.




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      Four (4) months later, in July of 2011, the government alleges that Trotta,

Dombeck and Joseph Atsus were involved in alleged overt action at the Sterling

Hill Mining Museum. No additional counts within the Indictment involve these

alleged overt actions.

      Ten (10) months after the alleged actions involving the Sterling Hill Mining

Museum, the Government alleges that in May of 2012, Dombeck, Boland and

Trotta were engaged in overt actions involving the USGA Golf Museum &

Library.

      In Trotta’s own statements, Trotta acknowledges that at this time, his focus

became stealing trophies.

      It is alleged that seven (7) months after the actions alleged to have occurred

involving the USGA Golf Museum & Library that Dombeck, Trotta and Boland

engaged in overt actions in December of 2012 involving the Harness Racing

Museum and Hall of Fame. This incident allegedly involved Dombeck, Trotta,

Boland, and Alfred Atsus.

      It should be noted that from this alleged incident forward, Alfred Atsus is

not alleged to be involved in any additional overt actions of the conspiracy.

      The next allegation involves an incident taking place eight (8) months later

involving the National Racing Museum and Hall of Fame and involved Dombeck,

Boland and Trotta.


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      After those allegations, the next allege overt actions takes place in October

of 2014, over one (1) year from the previous alleged overt action involving the

Yogi Berra Museum & Learning Center. This incident involved Dombeck, Trotta,

and Joseph Atsus.

      Jospeh Atsus is not alleged to have any involvement in further overt actions

past October of 2014.

      The next allegations of overt actions do not take place until over one (1)

year later and involve the International Boxing Hall of Fame and the Hillwood

Estate, Museum and Gardens in November and December of 2015. Boland, Trotta

and Dombeck are alleged to be involved in these incidents.

      Again, involving only Boland, Trotta and Dombeck is an alleged incident

involving the Roger Maris Museum is not alleged to occur until July of 2016, eight

(8) months after the last alleged overt action.

      Between July of 2016 and April of 2019, there is no mention of the Atsus

brothers or Boland being involved or having knowledge of any of the alleged overt

activity involving Trotta, Dombeck and two other unnamed coconspirators.

      In April of 2019, three (3) years and nine (9) months from any previous

allegation of Boland’s involvement he is alleged to be involved with Dombeck,

Trotta, and Conspirator #5 with overt actions alleged to revolve around activity

with the Harvard Mineralogical & Geological Museum.


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      Again, Alfred Atsus is not mentioned in the Indictment for any actions since

December of 2012 and Joseph Atsus is not alleged to have any further involvement

since October of 2014.

                             LEGAL STANDARD

      Under Rule 12(b)(3)(B)(v) of the Federal Rules of Criminal Procedure, a

defendant may move to dismiss an indictment for failure to state an offense. An

indictment must set forth each element of the offense charged and provide

sufficient detail to allow the defendant to prepare a defense and invoke a double

jeopardy clause if necessary. See, Hamling v. United States, 418 U.S. 87, 117

(1974).

                    STATEMENT OF QUESTIONS INVOLVED

QUESTION PRESENTED:            Whether Count 1 of the Indictment should be
                               dismissed as it alleges multiple conspiracies which
                               were not charged within the statute of limitations?
SUGGESTED ANSWER:              Yes.

                                  ARGUMENT

A. Improper Joinder of Multiple Conspiracies

      Count 1 of the Indictment improperly joins multiple distinct conspiracies as

a single conspiracy violating Rule 8(b) of the Federal Rules of Criminal Procedure,

which permits the joinder of defendants only if they are alleged to have

participated in the same act or transaction, or in the same series of acts or


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transactions constituting an offense. In this case, the multiple conspiracies alleged,

spanning over twenty (20) years lack sufficient factual allegations to establish that

the multiple conspiracies alleged are part of a single, overarching conspiracy.

Moreover, some of the alleged overt acts alleged in the Indictment are not with the

jurisdiction of the United States to prosecute. Furthermore, many of the Defendants

are not alleged to agree and/or participate at all for several years during the span of

time alleged by the government.

      "Duplicity is the joining in a single count of two or more distinct and

separate offenses." United States v. Starks, 515 F.2d 112, 116 (3d Cir. 1975). An

indictment with duplicitous counts implicates the following concerns: first, "a

general verdict [from a duplicitous indictment] does not reveal exactly which

crimes the jury found the defendant had committed," United States v.

Gomberg, 715 F.2d 843, 845 (3d Cir.1983), cert. denied, 465 U.S. 1078, 104 S. Ct.

1439, 1440, 79 L. Ed. 2d 760 (1984); second, a duplicitous indictment may

prejudice the defendant "with respect to evidentiary rulings during the trial, since

evidence    admissible   on    one   offense    might    be   inadmissible    on   the

other," Starks, 515 F.2d at 116; and third, in a general verdict based upon two or

more separate offenses joined in a single count, there is no way of knowing

whether the jury was unanimous with respect to any of the offenses. Id. at 117.




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      Count 1 of the Indictment alleges several different incidents that the

Government contends were an overarching conspiracy. The moving Defendants

contend that each of these incidents, or at a minimum, clusters of these incidents,

as alleged are allegations of separate and distinct conspiracies.

      Under Third Circuit case law, the factors for whether a single conspiracy is

present are identical to those that determine whether a single scheme exists under a

fraud statute. United States v. Maker, 751 F.2d 614, 625 n. 35 (3d Cir.1984)

(citing United States v. Camiel, 689 F.2d 31, 36 (3d Cir. 1982), cert. denied, 472

U.S. 1017, 105 S. Ct. 3479, 87 L. Ed. 2d 614 (1985)). The court of appeals has

developed the following factors for variance cases to determine whether a single

conspiracy exists:

       1) whether there existed common or similar goals;

       2) whether there existed common or similar methods; and

       3) whether there existed an overlapping of participants.

      United States v. Schurr, 775 F.2d 549, 556 (3d Cir.1985); United States v.

De Peri, 778 F.2d 963 (3d Cir.1985); United States v. Maker, 751 F.2d 614 (3d

Cir.1984), cert. denied, 472 U.S. 1017, 105 S. Ct. 3479, 87 L.Ed.2d 614 (1985).

The court of appeals has considered a fourth factor: whether the agreement or

scheme contemplated a continuity in purpose, performance, and result. United




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States v. Barr, 963 F.2d 641, 649 (3d Cir. 1992), cert. denied, 506 U.S. 1033, 113

S. Ct. 811, 121 L. Ed. 2d 684 (1992); Maker, 751 F.2d at 625 n. 36.

      With respect to the first and second factors, while all of the incidents alleged

involve theft of items, each incident had separate and distinct goals of what would

be taken and how it would be taken. Not all of those named in the alleged

conspiracy knew of the others and several different methods for achieving the goal

of the alleged thefts were alleged throughout Count 1.

      With respect to overlapping participants, it is undisputable that the

allegations allege that there is overlap between several of the participants.

However, it should be noted that not all of the alleged participants knew of each

other. Additionally, several of the participants, specifically with respect to the

moving Defendants, Alfred, and Jospeh Atsus, were clearly no longer part of any

of the conspiracy ten (10) and eight (8) years respectively prior to the filing of the

Indictment.

      Most important in the analysis here is the fourth factor, “whether the

agreement or scheme contemplated a continuity in purpose, performance, and

result.” Here, as pointed out above, there were several clear time gaps in the

allegations regarding this overarching conspiracy.

      To start the Government’s contention that this conspiracy started in 1999

with the incident alleged revolving around Keystone College is not within the


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jurisdiction of the Government to prosecute. Furthermore, the next allegation of

any overt activity of the alleged conspiracy happens six (6) years later.

      While there are significant time gaps between most of the alleged incidents,

there are at least three additional distinct periods of time that clearly represent

allegations of separate and distinct conspiracies.

      There are allegations revolving around the Everhardt Museum that take

place in November of 2005. These allegations involve Trotta, Dombeck, Alfred

Atsus, Joseph Atsus and Boland. Additionally in this second conspiracy was the

incident that allegedly took place in June of 2006 revolving around the Space

Farms Zoo and Museum and involved Trotta, Dombeck, Boland, Joseph Atsus, and

Alfred Atsus.

      There was no alleged activity at this point for four (4) years. It is the

moving Defendants contention the goals of the initial alleged conspiracy were

concluded.

      The next significant events involve the allegations regarding the incidents

involving the Lackawanna Historical Society, the Scranton County Club,

Ringwood Manor, Sterling Hill Mining Museum as noted above. These incidents

are alleged to have occurred between July of 2010 and July of 2011.

      Again, a significant time gap in the allegations of ten (10) months elapses

between those incidents and the next allegation of action by the conspirators. The


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allegations regarding the USGA Golf Museum & Library are alleged to have

occurred in May of 2012. Additionally, in Trotta’s own statements, he states that at

this time he began focusing on stealing trophies. Further evidence of a separate and

distinct conspiracy.

      There are also a one (1) year gap in time between the allegations revolving

around the National Racing Museum and Hall of fame and the allegations

regarding the Yogi Berra Museum & Learning Center in October of 2014.

      There is an additional one (1) year gap in time between the Yogi Berra

Museum allegations and allegations involving the International Boxing Hall of

Fame and the Hillwood Estate, Museum and Gardens alleged to have taken place

in November and December of 2015.

      Between July of 2016 and April of 2019, three (3) years and nine (9)

months, Boland is not mentioned or alleged to have been involved or have

knowledge of the alleged incidents that took place during that time frame.

Additionally, there is no mention of Alfred Atsus being involved any time after

December of 2012 and no mention of Jospeh Atsus being involved any time after

October of 2014.

      It is clear that there are several separate and distinct conspiracies alleged in

Count I of the indictment and it should be dismissed on that basis.




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B. Effect on Statute of Limitations

      The improper joinder of multiple conspiracies also impacts the statute of

limitations. If the indictment includes acts beyond the limitations period for some

conspiracies, those charges must be dismissed.

      Under 18 U.S.C. § 3282, non-capital offenses must be indicted within five

years. The Third Circuit in United States v. Reitmeyer, 356 F.3d 1313 (3rd Cir.

2004), highlighted that the limitations period begins when the crime is complete,

not when it is discovered. This principle applies to conspiracy charges,

emphasizing that any acts outside the five-year window are not chargeable.

      A statute of limitations “limit[s] exposure to criminal prosecution to a

certain fixed period of time following the occurrence of” criminal acts. United

States v. Midgley, 142 F.3d 174, 177 (3d Cir. 1998), citing Toussie v. United

States, 397 U.S. 112, 114, 90 S.Ct. 858, 859–60, 25 L.Ed.2d 156 (1970).

Limitations are “designed to protect individuals from having to defend themselves

against charges when the basic facts may have become obscured by the passage of

time and to minimize the danger of official punishment because of acts in the far-

distant past.” Id. at 114–15, 90 S.Ct. at 860. “Limitations statutes ... are intended to

foreclose the potential for inaccuracy and unfairness that stale evidence and dull

memories may occasion in an unduly delayed trial.” United States v. Levine, 658

F.2d 113, 127 (3d Cir.1981) (emphasis in original).


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      Furthermore, where substantiation of a conspiracy charge requires proof of

an overt act, it must be shown both that the conspiracy still subsisted within the

three years prior to the return of the indictment, and that at least one overt act in

furtherance of the conspiratorial agreement was performed within that period.

Grunewald v. United States, 353 U.S. 391, 396–97, 77 S. Ct. 963, 970, 1 L. Ed. 2d

931 (1957).

      Here, it is clear that there were multiple conspiracies throughout the alleged

twenty (20) year period. There were no additional overt acts in the furtherance of

the earlier conspiracies that fall outside the limitations period within the three (3)

years prior to the indictment. Those conspiracies are barred by the statute of

limitations.

      Additionally, because each of these incidents were separate and distinct, or

at the very least several separate and distinct groups of activity, it should be noted

that after the similar purposes of a conspiracy have been attained, a subsidiary

conspiracy to conceal may not be implied from circumstantial evidence showing

merely that conspiracy was kept a secret and that conspirators took acre to cover

up their crime in order to escape detection and punishment, since allowing such

conspiracy to conceal to be inferred or implied from mere overt acts of

concealment would result in an awesome widening of the scope of conspiracy

prosecutions and would extend life of conspiracy indefinitely. See Grunewald, 353


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U.S. 391; Krulewitch v. United States, 336 U.S. 440 (1949); Lutwak v. United

States, 344 U.S. 604 (1953).

      Even if the Government were able to prove the allegations taking place

outside the statute of limitations, they cannot utilize the fact that the conspiracy

was kept secret or concealed to extend the statute of limitations. In other words, the

fact that the Government’s knowledge of these conspiracies only came to light

based on an investigation and cooperating witnesses that brought these “secret”

conspiracies to their attention, the fact that the Defendants allegedly concealed

their involvement in these separate and distinct conspiracies cannot but utilized by

the Government to argue that statute of limitations is tolled for those separate and

distinct conspiracies that occurred outside the statute of limitations.

      Here, because the alleged acts in Count I of the Indictment are separate and

distinct conspiracies, any act alleged to have occurred prior to June 6, 2018 would

have occurred outside the statute of limitations. As such, Count I of the Indictment

is improper as it charges the Defendants for alleged criminal activity that happened

outside the statute of limitations. The Government’s attempt at an end-around

indictment for alleged activity otherwise outside of the statute of limitations must

not be allowed. As such Count I of the Indictment should be dismissed.




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                                  CONCLUSION

      Based on the above the alleged acts in Count 1 of the Indictment must be

deemed to be several alleged separate and distinct conspiracies. As such, any of the

alleged acts and/or separate and distinct conspiracies that occurred prior to June 6,

2018 are outside the statute of limitations and must be dismissed. The fact that the

completion of these alleged separate and distinct conspiracies was allegedly

concealed by the actors does not toll the statute of limitations.

      As such, Count I of the Indictment includes improper joinder of alleged

conspiracies outside of the statute of limitations and therefore must be dismissed.

      WHEREFORE, the moving Defendants respectfully request this Honorable

Court dismiss Count I of the Indictment.

                                        Respectfully submitted,

                                        /s/Jason J. Mattioli
                                        Jason J. Mattioli
                                        Michael J. Ossont
                                        Attorney for Defendant
                                        Alfred Atsus

                                        /s/Matthew L. Clemente
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                                        Damien Boland

                                        /s/ Patrick A. Casey
                                        Patrick A. Casey
                                        Attorney for Defendant
                                        Joseph Atsus


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               CERTIFICATE OF COMPLIANCE
               PURSUANT TO LOCAL RULE 7.8

This brief complies with local Rule 7.8(b). The brief contains 4,292 words.


                                       /s/ Patrick A. Casey
                                       Patrick A. Casey




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                        CERTIFICATE OF SERVICE
         I, Patrick A. Casey, hereby certify that a true and correct copy of the

foregoing Brief in Support of Defendants Damien Boland, Alfred Atsus, and Joseph

Atsus’ Motion to Dismiss Count 1 of the Indictment for Failure to State an Offense

was served upon the counsel of record via the Court’s ECF system on this 12 th day

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